                        Case 3:22-cv-00899-LB Document 3 Filed 02/14/22 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


     OPERATING ENGINEERS’ HEALTH AND                                 )
     WELFARE TRUST FUND FOR NORTHERN                                 )
              CALIFORNIA. et al.                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No.
                                                                     )
   T & D SERVICES, INC., dba T & D Trenchless, a                     )
   California Corporation; DONALD THOMAS VAN                         )
                 DYKE, an individual,                                )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) T & D SERVICES, INC., dba T & D Trenchless, a California Corporation
                                           c/o Tom Van Dyke, Agent for Service of Process
                                           42371 Guava St.
                                           Murrieta, CA 92562




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Matthew P. Minser
                                           Siddharth Jhans
                                           SALTZMAN & JOHNSON LAW CORPORATION
                                           1141 Harbor Bay Parkway, Suite 100
                                           Alameda, CA 94502


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:
                                                                                            Signature of Clerk or Deputy Clerk
                               Case
                              Case
                               Case
                                Case3:22-cv-00899-LB
                                   5:18-cv-06824-NC
                                    5:18-cv-06824-NC Document
                                      4:19-cv-00673 Document
                                                     Document
                                                      Document 38Filed
                                                             27-1  Filed
                                                                   Filed 02/14/22
                                                                     Filed
                                                                        02/06/19
                                                                          11/16/18
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                                                                                            of
                                                                                                                        SUM-200(A)
    SHORT TITLE:                                                                                  CASE NUMBER:
       Operating Engineers' Health And Welfare Trust Fund For Northern
       California, et al. v. T & D SERVICES, INC., et al.

                                                     INSTRUCTIONS FOR USE
 This form may be used as an attachment to any summons if space does not permit the listing of all parties on the summons.
 If this attachment is used, insert the following statement in the plaintiff or defendant box on the summons: "Additional Parties
      Attachment form is attached."

List additional parties (Check only one box. Use a separate page for each type of party.)     :




     Plaintiff          
                                   Defendant      Cross-Complainant      Cross-Defendant




DONALD THOMAS VAN DYKE, an individual,
42371 Guava St.
Murrieta, CA 92562




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Form Adopted for Mandatory Use
  Judicial Council of California                     ADDITIONAL PARTIES ATTACHMENT
SUM-200(A) [Rev. January 1, 2007]
                                                            Attachment to Summons
